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                    EXHIBIT A
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Christopher Marlborough

From:                    Christopher Marlborough
Sent:                    Sunday, August 29, 2021 10:07 PM
To:                      Patrick Trainor, Esq.
Cc:                      Victoria Medley; Zachary Margulis-Ohnuma; Richard Torres
Subject:                 RE: D'Ambly v Exoo, et al.


Patrick,

I do not appreciate the insulting statements and unfounded accusations in your prior e‐mail. I suggest you conduct
yourself in a more professional manner with your colleagues, particularly when practicing in the federal court.
Moreover, it is grossly inappropriate to threaten an attorney with the filing of a sanctions motion in order to
prematurely obtain discovery material.

It is clear that you have misinterpreted several provisions of the Federal Rules of Civil Procedure and made false
assumptions about the conduct of Mr. Exoo and his counsel. I strongly discourage you from filing a frivolous motion with
the Court

Regards,

Christopher Marlborough
Principal Attorney



445 Broad Hollow Road, Suite 400 | Melville, NY 11747
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chris@marlboroughlawfirm.com
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From: Patrick Trainor, Esq. <pt@PTESQ.COM>
Sent: Saturday, August 28, 2021 7:34 PM
To: Christopher Marlborough <Chris@marlboroughlawfirm.com>
Cc: Victoria Medley <vm@zmolaw.com>; Zachary Margulis‐Ohnuma <zach@zmolaw.com>; Richard Torres
<richardtorresdna@gmail.com>
Subject: Re: D'Ambly v Exoo, et al.

Are you serious with that letter? Nice try, your guy creates a glide path to 37(e) sanctions and you serve a
preservation letter.

For starters, since you have obviously forgotten I already sent you a notice of discovery items with my Rule 34
requests and that was months ago. Did you forget that you included @AntiFashGordon tweets as exhibits in
your MTD and you let your client delete his account. What a shit show. Allowing your client to delete his
account is bush league douchery.
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Please keep your calendars free this week, wewill be on a conference call with the Magistrate on Monday or
Tuesday or as soon as can be heard.




From: Christopher Marlborough <Chris@marlboroughlawfirm.com>
Sent: Saturday, August 28, 2021, 7:01 PM
To: Patrick Trainor, Esq.
Cc: Victoria Medley; Zachary Margulis‐Ohnuma; Richard Torres
Subject: RE: D'Ambly v Exoo, et al.


Patrick,
Good to hear from you. You raise a question that may be answered in response to a proper discovery request in the
event that the case is not dismissed before Defendant Exoo is required to respond to discovery. Attached please find a
preservation letter relating to your clients.
Have a great weekend.
Regards,

Christopher Marlborough
Principal Attorney



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From: Patrick Trainor, Esq. <pt@PTESQ.COM>
Sent: Thursday, August 26, 2021 9:16 PM
To: Christopher Marlborough <Chris@marlboroughlawfirm.com>
Cc: Victoria Medley <vm@zmolaw.com>; Zachary Margulis‐Ohnuma <zach@zmolaw.com>; Richard Torres
<richardtorresdna@gmail.com>
Subject: Re: D'Ambly v Exoo, et al.

Good evening. Why did your client delete his @AntiFashGordon Twitter account?

Sincerely,


Patrick Trainor, Esq.
The Law Office of Patrick Trainor, Esq., LLC
848 Paterson Avenue | East Rutherford, New Jersey 07073
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                                        Case 2:20-cv-12880-JMV-JSA
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Phone (201) 777‐3327 | eFacsimile (201) 896‐7815

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From: Christopher Marlborough <Chris@marlboroughlawfirm.com>
Sent: Monday, March 22, 2021 11:21:21 AM
To: Patrick Trainor, Esq. <pt@PTESQ.COM>
Cc: Victoria Medley <vm@zmolaw.com>; Zachary Margulis‐Ohnuma <zach@zmolaw.com>; Richard Torres
<richardtorresdna@gmail.com>
Subject: RE: D'Ambly v Exoo, et al.

Patrick,

Good speaking with you this morning and thanks for your e‐mail. We have no response.

Regards,

Christopher Marlborough
Principal Attorney



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SENDER BY REPLY E-MAIL AND DELETE THIS E-MAIL MESSAGE AND ANY ATTACHMENTS FROM YOUR COMPUTER. THANK YOU.


From: Patrick Trainor, Esq. <pt@PTESQ.COM>
Sent: Monday, March 22, 2021 9:39 AM
To: Christopher Marlborough <Chris@marlboroughlawfirm.com>
Subject: D'Ambly v Exoo, et al.

Good morning Mr. Marlborough, I hope you are well. Please see the link below. Do you think
this Tweet by Mr. Exoo can be considered tampering or intimidation? Based on the close
relationship between Left Coast Watch/Abner Hauge and Exoo I do. If he doesn’t take it down
immediately I must act to protect my client.

Please confirm that he will immediately take the tweet down.

https://twitter.com/AntiFashGordon/status/1373800092734476289?s=20


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                                         13466
Sincerely,



Patrick Trainor, Esq.

THE LAW OFFICE OF PATRICK TRAINOR
848 Paterson Avenue | East Rutherford, New Jersey 07073
Phone (201) 777-3327 | eFacsimile (201) 896-7815

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